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UNITED STATES DISTRICT COURT FOR THEE IVED & FILEB

DISTRICT OF PUERTO RICO
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UNITED STATES OF AMERICA, CIVIL NO. 12 ev 02039 (GAG) «...,-:

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Vv.
COMMONWEALTH OF PUERTO RICO, ET
ALS,
Defendant

REQUEST FOR LEAVE TO FILE ANNUAL FINANCIAL STATEMENT
TO THE HONORABLE COURT:

COMES Now the Federal Monitor to the Sustainable Reform of the Police of Puerto
Rico and very respectfully submits the following:

1. Pursuant to the Stipulation and Order (Docket 139) for the establishment of the
TCA Office and the payment of its expenses, hereinafter “the Stipulation,” the TCA Office is
required to file with this Honorable Court an Annual Financial Statement.

2, Paragraph 30 of the Stipulation specifically states that “following each natural
year, which starts on the 1*' of January and ends the 31°. of December, the TCA shall file with
the Court an annual Financial Statement.”

3. Pursuant to this Court’s Order and in compliance with the same, the Technical
Compliance Advisor hereby requests leave to submit the aforesaid Annual Financial Statement,
included in this Motion as an attachment, covering the period from January 1, 2018 to December

31, 2018.

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WHEREFORE, the Federal Monitor respectfully requests from this Honorable Court an

Order authorizing the filing of the aforesaid Annual Financial and its corresponding approval
after considering the same.

4. It is further requested by the undersigned that electronic copies of this document

be sent to all parties of record since the documents in this filing have been submitted to the
Honorable Court in hard copies.

San Juan, Puerto Rico, this __ th. day of February 2019.

CW Cho

ARNALDO CLAUDIO-Federal Monitor

OFFICE OF THE FEDERALMONITOR
268 Munoz Rivera,

World Plaza, Suite 1001
San Juan, Puerto Rico 00918

RESPECTFULLY SUBMITTED.

